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               In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         No. 15-870V
                                     (Not to be published)


*************************
                           *
LEAH TYRELL,               *
                           *
               Petitioner, *                           Filed: May 9, 2017
                           *
          v.               *                           Decision by Stipulation; Transverse Myelitis;
                           *                           Measles-Mumps-Rubella Vaccine (MMR)
SECRETARY OF HEALTH AND    *
HUMAN SERVICES             *
                           *
               Respondent. *
                           *
*************************



                                             DECISION

HASTINGS, Special Master.

        This is an action seeking an award under the National Vaccine Injury Compensation
Program1 on account of an injury suffered by Leah Tyrell. On May 8, 2017, counsel for both
parties filed a Stipulation, stipulating that a decision should be entered granting compensation.
The parties have stipulated that Petitioner shall receive the following compensation:

       ●       A lump sum of $90,000.00, in the form of a check payable to Petitioner,
               representing compensation for all damages that would be available under
               42 U.S.C. §300aa-15(a).

        Under the statute governing the Program, as well as the “Vaccine Rules” adopted by this
court, the special master must now enter a decision endorsing that stipulation, and the clerk must
enter judgment, in order to authorize payment of the award. See § 300aa-12(d)(3)(A) and (e)(3);
§ 300aa-13(a); Vaccine Rules 10(a), 11(a).2

1
  The applicable statutory provisions defining the Program are found at 42 U.S.C. § 300aa-10 et
seq. (2012 ed.). Hereinafter, for ease of citation, all "§" references will be to 42 U.S.C. (2012 ed.).
2
  The “Vaccine Rules of the United States Court of Federal Claims” are found in Appendix B of
the Rules of the United States Court of Federal Claims.
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        I have reviewed the file, and based on that review, I conclude that the parties’ stipulation
appears to be an appropriate one. Accordingly, my decision is that a Program award shall be made
to Petitioner in the amount set forth above. In the absence of a timely-filed motion for review of
this Decision, the clerk shall enter judgment in accordance herewith.

IT IS SO ORDERED.


                                                         /s/ George L. Hastings, Jr.
                                                             George L. Hastings, Jr.
                                                             Special Master
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
LEAH TYRRELL,                              )
                                           )
                  Petitioner,              )
                                          )   No. 15-870V (ECF)
v.                                        )   Special Master Hastings
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1.       Leah Tyrrell (“petitioner”) filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly sustained following

petitioner’s receipt of a measles-mumps-rubella (“MMR”) vaccine, which vaccine is contained in

the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a).

       2.       Petitioner received an MMR vaccine on August 23, 2012.

       3.       The vaccine was administered within the United States.

       4.       Petitioner alleges that she subsequently “suffered a reaction which was diagnosed

as Transverse Myelitis, Post-Traumatic Stress, and permanent neurogenic bladder,” which

injuries petitioner alleges were caused-in-fact by her receipt of the MMR vaccine. Petitioner

further alleges that she experienced the residual effects of her injuries for more than six months.

       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages as a result of her conditions.
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       6.       Respondent denies that the MMR vaccine caused petitioner’s alleged injuries and

residual effects, or any other injury.

       7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

       A lump sum of $90,000.00 in the form of a check payable to petitioner, Leah
       Tyrrell, which amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       9.       As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

       10.      Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act, 42 U.S.C. § 1396

et seq.), or by entities that provide health services on a pre-paid basis.

       11.      Payment made pursuant to paragraph 8 and any amounts awarded pursuant to


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paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys’ fees and litigation costs, the money provided pursuant to this Stipulation

will be used solely for the benefit of petitioner, as contemplated by a strict construction of 42

U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of herself, her heirs, executors, administrators, successors or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the Secretary

of Health and Human Services and the United States of America from any and all actions or

causes of action (including agreements, judgments, claims, damages, loss of services, expenses

and all demands of whatever kind or nature) that have been brought, could have been brought, or

could be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to, or death of,

petitioner resulting from, or alleged to have resulted from, the MMR vaccine administered on

August 23, 2012, as alleged by petitioner in a petition for vaccine compensation filed on or about

August 13, 2015, in the United States Court of Federal Claims as petition No. 15-870V.

        14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation, or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties’


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settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Vaccine Injury Act of 1986, as amended, except as

otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17.     This Stipulation shall not be construed as an admission by the United States of

America or the Secretary of Health and Human Services that petitioner’s alleged injuries and

residual effects, or any other injury, were caused-in-fact by the MMR vaccine.

       18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner’s heirs, successors and/or assigns.

                                     END OF STIPULATION

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